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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
Marvin Gerber, Dr. Miriam Brysk,

       Plaintiffs,

vs.                                                     Civil Action No. 2:19-cv-13726
                                                        Hon. Victoria A. Roberts

Henry Herskovitz, et al.,

       Defendants, Jointly and Severally.
_________________________________________________________________/
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      PLAINTIFFS’ RESPONSE TO THE PROTESTER DEFENDANTS’
            FEE PETITION AND MOTION FOR SANCTIONS
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      Plaintiffs, by and through their attorneys, in response to the Protester De-

fendants’ Fee Petition and Motion For Sanctions, state as follows:

      1.     Denied, for the reason that it is untrue. The Court dismissed the First

Amended Complaint on the basis of the Defendants’ motion pursuant to Fed. R.

Civ. P. 12(b)(1), holding that it did not have jurisdiction because the Plaintiffs did

not have standing to sue. The Court expressly stated this in its Order dismissing the

lawsuit (ECF #66) at *10: “Plaintiffs fail to allege a concrete injury, and thus fail to

allege an injury in fact. This is fatal to their lawsuit since they cannot satisfy an es-

sential element of Article III standing.” The Court repeated this in the decision’s

Conclusion, stating at *11: “Plaintiffs do not sufficiently allege Article III standing.

The Court lacks subject matter jurisdiction and must dismiss this case.” Any

statements which the Court included in the decision relating to the protesters’ free

speech rights under the 1st Amendment were not relevant to the basis for Court’s

dismissal of the lawsuit, which was exclusively based on its conclusion that the

Plaintiffs lacked standing. Those statements were therefore dicta, and cannot form

the basis for an award of attorney fees, since the Protester Defendants’ did not pre-

vail on the basis of their contention that their protests were protected by the 1st

Amendment. Moreover, to the extent the Court addressed the 1st Amendment issue

without finding that the Plaintiffs had standing, the Court violated Supreme Court

precedent by addressing the merits of the lawsuit before determining that the Plain-

tiffs had standing. See Steel Co. v. Citizens for Better Environment, 523 U.S. 83,

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89, 94 (1998); H.L. v. Matheson, 450 U.S. 398, 430 (1981); Warth v. Seldin, 422

U.S. 490, 498, 517-18 (1975).

      2.     Denied for the reason that the assertion is untrue.

      3.     Denied for the reason that the assertion is untrue.

      4.     Denied for the reason that the assertion is untrue.

      5.     Admitted.

      This Response is supported by the accompanying brief.

      WHEREFORE, the Protester Defendants’ fee petition and motion for sanc-

tions should be denied in their entirety.

                                                Respectfully submitted,

By:   /s Ziporah Reich                          /s Marc M. Susselman
      Co-counsel for Plaintiffs                 Attorney for Plaintiffs

Dated: December 16, 2020




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I.    Whether the Protester Defendants’ Fee Petition pursuant to 42 U.S.C.
      §1988 should be denied in its entire ty.

      Plaintiffs answer “Yes.”

II.   Whether the Protester Defendants’ Motion for Sanctions pursuant to 28
      U.S.C. §1927 should be denied in its entirety.

      Plaintiffs answer “Yes.”




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         COUNTER-STATEMENT OF FACTS AND PROCEEDINGS

       This lawsuit was commenced on December 19, 2019. A First Amended

 Complaint (“FAC”; ECF #11) was filed on January 10, 2020. Plaintiffs alleged that

 a number of protesters (“Protesters”) had been picketing in front of their synagogue

 every Saturday morning as the congregants entered the synagogue for services, and

 throughout the services, for 17 years and that seeing the numerous signs that they

 used, some of which they maintained were Antisemitic, caused them extreme emo-

 tional distress. They maintained that the protesters’ conduct specifically in front of

 the synagogue violated several federal statutes and should be subject to reasonable

 time, place and manner restrictions. They also named the City of Ann Arbor as a

 Defendant, maintaining that the City’s failure to enforce certain provisions of the

 City Code violated their 1st Amendment right of freedom of worship and also a

 number of federal statutes. The Plaintiffs requested injunctive relief, damages and

 attorney fees.

       On March 17, 2020, the Protesters filed a corrected motion to dismiss based

 on Fed. R. Civ. P. 12(b)(1), claiming the Plaintiffs did not have standing, and

 12(b)(6), claiming they had failed to state a cognizable claim. (ECF #45) Plaintiffs

 filed their response opposing the motion to dismiss on June 10, 2020. (ECF #54)

 On August 19, 2020, the Court issued its Order granting the Protesters’ motion to

 dismiss based on Fed. R. Civ. P. 12(b)(1), holding that the Plaintiffs’ alleged ex-

 treme emotional distress did not constitute a concrete injury sufficient to confer

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 standing to sue. (ECF #66) Plaintiffs filed a motion for reconsideration on August

 26, 2020 (ECF #67), which the Court denied by Order dated September 3, 2020

 (ECF #69).1 On November 1, the Protesters filed a Fee Petition Pursuant to 42

 U.S.C. §1988 And Motion For Sanctions Pursuant To 28 U.S.C.§1927. (ECF #73)

       In their Summary of Proceedings, the Protesters include numerous misstate-

 ments of fact and assertions irrelevant to whether they are entitled to attorney fees.

 Regarding the length of Plaintiffs’ Complaint and FAC, the lawsuit was addressing

 a number of complicated constitutional issues which required the factual averments

 and legal counts they included. The fact that it was long did not per se violate Fed.

 R. Civ. P. 8(a)(2), since its length was intended to avoid a motion to dismiss and

 was therefore justified. Plaintiffs have seen far longer complaints filed in the Dis-

 trict Court which were not dismissed for purportedly violating Rule 8(a)(2).2 The

 only issue which the Court addressed in its Order dismissing the FAC was whether

 the Plaintiffs had standing. Whether the Court was correct in that conclusion will be

 determined by the disposition of the appeal by the Sixth Circuit.

       As the Plaintiffs have repeatedly stated in the course of this lawsuit, they

 1
    Plaintiffs have filed an appeal from the Court’s Order dismissing the lawsuit
 which is currently pending in the Sixth Circuit Court of Appeals.
 2
   Indeed, during the telephonic conference call referred to, Ms. Heenan interjected
 that she herself had filed extremely lengthy complaints and indicated that she was
 not objecting to the length of the Complaint, but was simply requesting additional
 time to prepare a response, either by filing an Answer or a motion. The Protesters
 did not file a motion to strike the Complaint, despite the Court’s comment regard-
 ing its length.


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 were not seeking to prohibit the protesters from expressing their views everywhere

 in Ann Arbor, contrary to the assertion on p. 2 that they “sought this Court’s assis-

 tance in silencing” the protesters’ speech. They were only seeking reasonable time,

 place and manner restrictions on their speech in proximity to their synagogue, much

 of which was Antisemitic, and which they had been engaging in every Saturday

 morning for 17 (now going on 18) years. The Supreme Court and lower federal

 courts have granted such limitations on speech in numerous cases, which Plaintiffs

 cited in their briefs and see no reason to repeat those citations here. Moreover, the

 fact that they were engaging in their protest in a public right-of-way did not insulate

 their protests from the Plaintiffs’ lawsuit, when the Plaintiffs maintained that their

 use of the public right-of-way for this purpose violated unambiguous provisions in

 the Ann Arbor City Code which the City was refusing to enforce, and which was

 the basis for the legal claims made against the City, and which rendered the Pro-

 testers’ conduct state action under 42 U.S.C. §1983.

       The discussion on pp. 2-5 regarding whether the Protesters’ conduct was pro-

 tected by the 1st Amendment is entirely irrelevant to whether they are entitled to at-

 torney fees for disputing Plaintiffs’ contention that it was not absolutely protected

 in proximity to a Jewish house of worship. The Court strictly speaking did not rule

 on the 1st Amendment issue. All of the Court’s assertions in its Order granting the

 motion to dismiss based on the Protesters’ 12(b)(1) motion relating to the 1 st

 Amendment issue are therefore dicta. The Court expressly stated, “Plaintiffs fail to

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 allege a concrete injury, and thus fail to allege an injury in fact. This is fatal to their

 lawsuit since they cannot satisfy an essential element of Article III standing.” (ECF

 #66, at *10) The Court repeated this in its Conclusion, stating at *11: “Plaintiffs do

 not sufficiently allege Article III standing. The Court lacks subject matter jurisdic-

 tion and must dismiss this case.” By including statements which addressed the

 merits of the 1st Amendment issue, the Court violated several Supreme Court and

 lower court decisions which have expressly held that a federal court is precluded

 from addressing the merits unless it has found that the plaintiffs have standing. See

 Steel Co. v. Citizens for Better Environment, 523 U.S. 83, 89, 94 (1998); H.L. v.

 Matheson, 450 U.S. 398, 430 (1981); Warth v. Seldin, 422 U.S. 490, 498, 517-18

 (1975); Midwest Media Prop. v. Ohio, 512 F.3d 338, 340 (6th Cir. 2008); Pitt News

 v. Fisher, 215 F.3d 354, 360 (3d Cir. 2000); ACLU v. Santillanes, 546 F.3d 1313,

 1319 (10th Cir. 2008). Since the Court concluded that the Plaintiffs did not have

 standing, then it improperly addressed the merits regarding the 1st Amendment ap-

 plication, an issue which Plaintiffs have raised in their appeal before the Sixth Cir-

 cuit.

         Therefore, to the extent the Protesters may be entitled to any attorney fees at

 all, they are only entitled to recover attorney fees for the time that they expended on

 addressing the issue of standing, which was the sole and exclusive basis for the

 Court’s decision to dismiss the lawsuit. They are not entitled to recover attorney

 fees for time expended on addressing the 1st Amendment issue, or any other issue,

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 since they were not the basis for the Court’s ruling, and the Court only improperly

 addressed them in dicta.



                                    ARGUMENT

 I.    THE COURT MAY NOT AWARD ANY ATTORNEY FEES OR
       COSTS PURSUANT TO 42 U.S.C. §1988.

 42 U.S.C. §1988(b) state in relevant part:

       In any action or proceeding to enforce a provision of sections 1981,
       1981a, 1982, 1983, 1985, and 1986 of this title… the court, in its dis-
       cretion, may allow the prevailing party, other than the United States, a
       reasonable attorney’s fee as part of the costs … .

       A.     Since The Court Held That The Plaintiffs Did Not Have Standing,
              The Court Did Not Have Subject Matter Jurisdiction Over The
              Lawsuit And Therefore Does Not Have Jurisdiction To Address
              The Merits Or Award Any Attorney Fees Or Costs Pursuant To
              42 U.S.C. §1988(b).

       The Court held that the Plaintiffs did not have standing to sue. This was the

 only ruling which the Court made in its Order dismissing the lawsuit. The Court

 made no ruling regarding the Protester Defendants’ (“Protesters”) motion to dis-

 miss the lawsuit for failure to state a claim under Fed. R. Civ. P. 12(b)(6). Any

 statements in the Court’s decision purporting to address the merits of the lawsuit

 and the 1st Amendment issues are therefore dicta and the Protesters may not be

 awarded attorney fees for any time they expended in support of the Court’s dicta –

 a party cannot be deemed a prevailing party regarding issues which are only sup-

 ported by dicta in the Court’s dispositive ruling.

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       If a court rules that the plaintiff(s) do not have standing to sue, then the court

 does not have subject matter jurisdiction and is precluded from reaching the merits

 of the lawsuit. As the Supreme Court stated in Steel Co. v. Citizens for Better Envi-

 ronment, 553 U.S. 83 (1998), id. At 109-110:

       Having found that none of the relief sought by respondent would likely
       remedy its alleged injury in fact, we must conclude that respondent
       lacks standing to maintain this suit, and that we and the lower courts
       lack jurisdiction to entertain it.

       The Supreme Court similarly stated in Bender v. Williamsport Area School

 Dist., 475 U.S. 534, 541, 549 (1986):

       Before considering each of the standing theories, it is appropriate to
       restate certain basic principles that limit the power of every federal
       court. Federal courts are not courts of general jurisdiction; they have
       only the power that is authorized by Article III of the Constitution and
       the statutes enacted by Congress pursuant thereto. … For that reason,
       every federal appellate court has a special obligation to “satisfy itself
       not only of its own jurisdiction, but also that of the lower courts in a
       cause under review,” even though the parties are prepared to concede
       it. … “And if the record discloses that the lower court was without ju-
       risdiction this court will notice the defect, although the parties make no
       contention concerning it. [When the lower federal court] lack[s] juris-
       diction, we have jurisdiction on appeal, not of the merits but merely
       for the purpose of correcting the error of the lower court in entertain-
       ing the suit.” …
                                          ***
       We therefore hold that because the Court of Appeals was without ju-
       risdiction to hear the appeal, it was without authority to decide the
       merits. Accordingly, the judgment of the Court of Appeals is vacated,
       and the case is remanded with instructions to dismiss the appeal for
       want of jurisdiction. (Citations omitted.)

 See also Ward v. Alternative Health Delivery Systems, 261 F.3d 624, 626 (6th Cir.

 2001) (“Standing is thought of as a ‘jurisdictional’ matter, and a plaintiff’s lack of

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 standing is said to deprive a court of jurisdiction. … Because plaintiff’s claims

 failed for lack of such statutory standing, we find that plaintiff’s claims were

 properly dismissed for lack of subject matter jurisdiction.”); Braunstein v. Arizona

 Dept. of Transp., 683 F.3d 1177, 1184 (9th Cir. 2012) (“Although general allega-

 tions of injury can suffice at the pleading stage, the plaintiff must set forth ‘specific

 facts’ to survive a motion for summary judgment based on a lack of standing. … ‘A

 suit brought by a plaintiff without Article III standing is not a ‘case or controversy,’

 and an Article III federal court therefore lacks subject matter jurisdiction over the

 suit.” Citations omitted.)

       Where a plaintiff lacks standing, a district court has no subject matter over

 the lawsuit and is precluded from addressing the merits of the lawsuit in any re-

 spect. Consequently, under such circumstances a district court is likewise precluded

 from awarding attorney fees to any of the defendants because, being precluded

 from addressing the merits, there can be no prevailing party. The fact that the Court

 here, although holding the plaintiffs did not have standing, went beyond its authori-

 ty and proceeded to address the merits of the lawsuit, and in particular the merits of

 the Protesters’ 1st Amendment defense, does not alter the legal fact that the Court

 had no jurisdiction to do so. Therefore the Protesters were not prevailing parties

 with respect to any of these issues, including the 1st Amendment issues, which is a

 prerequisite to be awarded attorney fees under 42 U.S.C. §1988. They are accord-

 ingly not entitled to recover any attorney fees for any time that they expended on

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 these issues, and the Court is legally precluded from awarding any attorney fees for

 such expenditure of time. As the Second Circuit Court of Appeals stated in W.G. v.

 Senatore, 18 F.3d 60 (2d Cir. 1994), id. at 64:

        [F]ee shifting provisions cannot themselves confer subject matter ju-
        risdiction. Rather, such provision must be read in conjunction with
        substantive statutes to establish proper jurisdiction over fee applica-
        tions. For example, in the civil rights context, 42 U.S.C. §1988 em-
        powers a court to award reasonable attorney’s fees to the prevailing
        party in a proceeding brought to enforce one of the substantive sec-
        tions of the civil rights laws. Where the is n subject matter jurisdiction
        to proceed with the substantive claim, as a matter of law “[t]hat lack of
        jurisdiction bar[s] an award of attorneys fees under section 1988.”
        Keene Corp. v. Cass, 908 F.2d 293, 298 (8th Cir. 1990) (reversing dis-
        trict court’s award of attorney’s feed under §1988 after affirming dis-
        trict court’s conclusion that it lacked subject matter jurisdiction under
        §1983)[.] (Some citations omitted.)

 See Elwood v. Drescher, 456 F.3d 943, 948 (9th Cir. 2006) (“Where a claim is dis-

 missed for lack of subject matter jurisdiction, the defendant is not a prevailing party

 within the meaning of §1988, and the district court accordingly lacks jurisdiction to

 award attorneys’ fees.”).3


 3
   See also Webber v. Michela, 633 F.2d 518, 519 (8th Cir. 1980) (“Because we de-
 cide the case on jurisdictional grounds and reach no decision on the merits, we be-
 lieve that the award of attorneys’ fees and costs has become inappropriate and,
 therefore, vacate that award.”); Branson v. Nott, 62 F.3d 287, 292-93 (9th Cir. 1995)
 (“Branson contends that the district court erred in sanctioning him because his
 complaint was not frivolous. We agree that it was error to impose sanctions under
 42 U.S.C. §1988, but for a different reason; because the district court lacked subject
 matter jurisdiction over Branson’s purported civil rights claim in the first instance,
 it also lacked the power to award attorney’s fees under the civil rights attorney fee
 statute.”) (Footnote omitted); Chapman v. Barcus, 372 F. App’x 899, 902-03 (10th
 Cir. 2010) (“In instances of Younger abstention, … a dismissal ‘makes no comment
 (Footnote continued.)

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       There are no decisions holding the opposite of the above – that a court which

 does not have subject jurisdiction can nonetheless award attorney fees under 42.

 U.S.C. §1988. While there has been no decision by the Sixth Circuit addressing this

 issue, the weight of authority is that under such circumstances the court may not

 award attorney fees, because there is no prevailing party. This makes sense, be-

 cause holding that a plaintiff does not have standing is not a decision on the merits,

 and attorney fees under 42 U.S.C. §1988 may only be awarded to a party that pre-

 vails on the merits. Consequently, all of the statements on pp. 16-18 of their peti-

 tion to the effect that Plaintiffs failed to state a claim, that the protesters’ conduct

 was absolutely protected by the 1st Amendment and not subject to any injunctive

 relief, that Plaintiffs’ attorney acted in bad faith, etc., etc. – none of which is accu-

 rate or legally correct – are irrelevant to the issue of whether they are entitled to re-

 cover attorney fees pursuant to 42 U.S.C. §1988, since they failed to prevail on any

 of these issues. Therefore, the Protesters’ fee petition pursuant to 42 U.S.C. §1988

 must be denied in its entirety, including their petition for costs.

       B.     Even If The Court Could Award Attorney’s Fees Pursuant To 42
              U.S.C. §1988, The Attorney Fees Would Have To Be Limited To
              The Time Expended Exclusively On The Question Of Standing.

       In Riverside v. Rivera, 477 U.S. 561 (1986), the Court observed that one of

 _______________________________
 on the merits of the case, and does not materially alter the legal relationship be-
 tween the parties.’ … The individual defendants are not prevailing parties at this
 point, and are therefore not entitled to attorneys’ fees.) (Citations omitted.)


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 the main purposes behind allowing attorneys who prevail in pursuing civil rights

 lawsuits on behalf of plaintiffs is to serve as an incentive to encourage attorneys to

 represent individuals who have a colorable argument their civil/constitutional rights

 have been violated, and in so doing, attorneys act as private attorneys general vin-

 dicating the rights not only of their clients, but of the public. Quoting from the

 Congressional Record, the Court stated, id. at 575, “If the citizen does not have the

 resources, his day in court is denied him; the congressional policy which he seeks

 to assert and vindicate goes unvindicated; and the entire Nation, not just the indi-

 vidual citizen, suffers.” 122 Cong. Rec. 33313 (1976) (remarks of Sen. Tunney).

       While recognizing that a prevailing defendant may likewise, under certain

 circumstances, be entitled to recover attorney fees under 42 U.S.C. §1988, those

 circumstances should be narrowly construed so as not to punish a losing plaintiff

 simply by virtue of having lost under a sincere and genuine belief that his/her civil

 rights had been violated. Such an application of the fee shifting statute would be

 counter-productive to one of its main objectives - to foster challenges to civil rights

 violations by not inhibiting plaintiffs from taking the risk of litigation out of con-

 cern that, if they lose, they will have to reimburse the defendant’s attorney fees. In

 keeping with this rationale, in Christiansburg Garment Co. v. Equal Employment

 Opportunity Comm’n, 434 U.S. 412 (1978), the Court stated, id. at 421-22:

       [A] district court may in its discretion award attorney’s fees to a pre-
       vailing defendant in a Title VII case upon a finding that the plaintiff’s
       action was frivolous, unreasonable, or without foundation, even

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       though not brought in subjective bad faith.

       In applying these criteria, it is important that a district court resist the
       understandable temptation to engage in post hoc reasoning by conclud-
       ing that, because a plaintiff did not ultimately prevail, his action must
       have been unreasonable or without foundation. This kind of hindsight
       logic could discourage all but the most airtight claims, for seldom can
       a prospective plaintiff be sure of ultimate success. No matter how hon-
       est one’s belief that he has been the victim of discrimination, no matter
       how meritorious one’s claim may appear at the outset, the course of
       litigation is rarely predictable. Decisive facts may not emerge until
       discovery or trial. The law may change or clarify in the midst of litiga-
       tion. Even when the law or the facts appear questionable or unfa-
       vorable at the outset, a party may have an entirely reasonable
       ground for bringing suit.

       … Hence, a plaintiff should not be assessed his opponent’s attor-
       ney’s fees unless a court finds that his claim was frivolous, unrea-
       sonable, or groundless, or that the plaintiff continued to litigate af-
       ter it clearly became so. And, needless to say, if a plaintiff is found to
       have brought or continued such a claim in bad faith, there will be an
       even stronger basis for charging him with the attorney’s fees incurred
       by the defense. (Emphasis added; italics in the original; footnote omit-
       ted.)

       The Court elaborated on its ruling in Christiansburg in Hughes v. Rowe, 449

 U.S. 5 (1980), holding that the standard applied in Christiansburg to fee shifting

 under Title VII applied to fee shifting under §1988 as well, stating, id. at 15-16:

       Although arguably a different standard might be applied in a civil
       rights action under 42 U.S.C. §1983, we can perceive no reason for
       applying a less stringent standard. The plaintiff’s action must be merit-
       less in the sense that it is groundless or without foundation. The fact
       that a plaintiff may ultimately lose his case is not in itself a suffi-
       cient justification for the assessment of fees. …
                                         ...
       Allegations that, upon careful examination, prove legally insuffi-
       cient to require a trial are not, for that reason alone, “groundless”
       or “without foundation” as required by Christiansburg. (Emphasis

                                           11
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       added.)

       The Supreme Court provided further guidance regarding how the fee shifting

 formula should be applied in cases in which a plaintiff is only partially successful

 and is the prevailing party with respect to fewer than all of the claims the plaintiff

 has pled, stating in Hensley v. Eckerhart, 461 U.S. 424 (1983), id. 434-36:

       In some cases a plaintiff may present in one lawsuit distinctly different
       claims for relief that are based on different facts and legal theories. In
       such a suit, even where the claims are brought against the same de-
       fendants – often an institution and its officers, as in this case – coun-
       sel’s work on one claim will be unrelated to his work on another claim.
       Accordingly, work on an unsuccessful claim cannot be deemed to have
       been “expended in pursuit of the ultimate result achieved.” The con-
       gressional intent to limit awards to prevailing parties requires that
       these unrelated claims be treated as if they had been raised in separate
       lawsuits, and therefore no fee may be awarded for services on the un-
       successful claim.
                                           ***
       If, on the other hand, a plaintiff has achieved only partial or limited
       success, the product of hours reasonably expended on the litigation as
       a whole times a reasonable hourly rate may be an excessive amount.
       This will be true even where the plaintiff’s claims were interrelated,
       nonfrivolous, and raised in good faith. Congress has not authorized an
       award of fees whenever it was reasonable for a plaintiff to bring a law-
       suit or whenever conscientious counsel tried the case with devotion
       and skill. Again, the most critical factor is the degree of success ob-
       tained.

       Application of this principle is particularly important in complex civil
       rights litigation involving numerous challenges to institutional practic-
       es or conditions. This type of litigation is lengthy and demands many
       hours of lawyers’ services. Although the plaintiff often may succeed
       in identifying some unlawful practices of conditions, the range of pos-
       sible success is vast. That the plaintiff is a “prevailing party” there-
       fore may say little about whether the expenditure of time was rea-
       sonable in relation to the success achieved. (Emphasis added; cita-
       tion and footnote omitted.)

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       These considerations - that any attorney fee award should reflect the degree

 of success that the prevailing party has obtained, and that the award should be re-

 duced in proportion to the party’s failure to achieve 100% success - have been reit-

 erated in several decisions by the Sixth Circuit. See, e.g., Granzeier v. Middleton,

 173 F.3d 568 (6th Cir. 1999); Smith v. Jefferson County Bd. Of Sch. Comm’rs, 788

 F.3d 580 (6th Cir. 2015). In Fox v. Vice, 563 U.S. 826 (2011), the Court held that

 the proportionality considerations which apply to evaluating the appropriate attor-

 ney fee award which should be approved for a prevailing plaintiff should likewise

 apply to a prevailing defendant, stating, id. at 834:

              Analogous principles indicate that a defendant may deserve fees
       even if not all the plaintiff’s claims were frivolous. In this context,
       §1988 serves to relieve a defendant of expenses attributable to frivo-
       lous charges. The plaintiff acted wrongly in leveling such allegations,
       and the court may shift to him the reasonable costs that those claims
       imposed on his adversary. … That remains true when the plaintiff’s
       suit also includes non-frivolous claims. The defendant, of course, is
       not entitled to any fees arising from these non-frivolous claims. But
       the presence of reasonable allegations in a suit does not immunize the
       plaintiff against paying for the fees that his frivolous claims imposed.

       Applying the above principles, the Protesters strictly speaking are not enti-

 tled to recover any attorney fees, even for the time their attorneys devoted to ad-

 dressing the single issue which the Court ruled on, namely whether the Plaintiffs

 had standing. As demonstrated in Argument I(A), since the Court ruled only re-

 garding the Protesters’ Rule 12(b)(1) motion on the issue of whether the Plaintiffs

 had standing to sue, and by holding that they did not, the Court lacks jurisdiction to


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 award any attorney fees related to the issues which the Protesters raised in their

 Rule 12(b)(6) motion and brief. This leaves only the question whether, for the sake

 of argument, the Protesters are entitled to recover attorney fees for any legal work

 done related to the single issue the Court did rule on – the issue of whether the

 Plaintiffs had standing.

       Plaintiffs maintain that they are not entitled to recover any attorney fees on

 the standing issue for the following reasons: (1) Plaintiffs’ contention that they had

 standing was not a position which was “frivolous, unreasonable, or without founda-

 tion,” as required under Chrisiansburg, supra, and the fact that the Court held they

 did not have standing does not entail that the claim was frivolous. (2) The attorneys

 for the Protesters barely touched on the issue of standing in their brief in support of

 their motion to dismiss (ECF #45). (3) The Protesters’ attorneys have failed to in-

 clude in the time records which they have attached to their fee petition the amount

 of time which they expended on the standing issue. Plaintiffs will address each of

 these considerations below.

       1.     Plaintiffs’ contention that they had standing to sue was not “frivo-
              lous, unreasonable, or without foundation.”

       The Court held that Plaintiffs did not have standing to sue because their as-

 sertion they suffered extreme emotional distress from seeing the Protesters’ signs in

 front of their synagogue as they attended religious services every Saturday morn-

 ing, for 17 years did not constitute a concrete injury. As indicated in Christians-


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 burg and Hughes, supra, the fact that the Court rejected the Plaintiffs’ position does

 not automatically entail that the position was “frivolous, unreasonable, or without

 foundation.” In making this ruling, the Court disregarded the five affidavits in the

 record by the Plaintiffs and three former members of the synagogue documenting

 the emotional distress, anxiety and fear for their safety which they experienced

 when approaching the synagogue and seeing the protesters’ signs, many of which

 they attested they believed were Antisemitic. (ECF #22, Exhibits 4, 5, 6, 7 and 11.)

       The Court also discounted - without justification, Plaintiffs submit – Plain-

 tiffs’ citation of case law which held that (1) a depreciation in environmental en-

 joyment can suffice to confer standing; (2) emotional distress caused by verbal sex-

 ual harassment alone in the workplace can suffice to confer standing; (3) emotional

 distress caused by verbal racial or ethnic harassment alone in the workplace can

 suffice to confer standing; (4) emotional distress caused by an alleged defamatory

 statement can suffice to confer standing; (5) an alleged violation of a constitutional

 right protected by the 1st Amendment can suffice to confer standing in the face of a

 Rule 12(b)(1) motion – even without the necessity of proving that the alleged viola-

 tion actually occurred, which would be necessary to withstand a Rule 12(b)(6) mo-

 tion; (6) an alleged violation of 42 U.S.C. §§ 1981, or 1982, or 1983, or 1985(3)

 can suffice to confer standing in the face of a Rule 12(b)(1) motion – even without

 the necessity of proving that the alleged violations actually occurred, which would

 be necessary to withstand a Rule 12(b)(6) motion – and that Plaintiffs had alleged

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 that the Protesters had violated all four of these federal Civil Rights statutes.

        The Court ignored Plaintiffs’ multiple citation of Wells v. Rhodes, 928 F.

 Supp. 2d 920 (S.D. Ohio 2013), in which the Court held that the emotional distress

 of an African-American family caused by seeing a burning cross in front of their

 rented home – without any indication either they or their property was physically

 damaged – sufficed to confer standing on the African-American family to sue, al-

 leging violations of 42 U.S.C. §§ 1982 and 1985(3), yet the emotional distress of

 Jewish congregants, seeing signs every Saturday morning for 17 years which in-

 sulted both their race and ethnicity (see Shaare Tefila Congregation v. Cobb, 481

 U.S. 615 (1987)), did not suffice to confer standing to allege violations of the very

 same federal statutes, raising questions whether the Court believed the emotional

 distress of African-Americans was somehow legally more significant and grievous

 than the emotional distress suffered by Jews – a belief which would clearly violate

 the Equal Protection Clause, particularly if held by a federal judge – unless, alterna-

 tively, the Court believed the decision by the district court in Wells was erroneous,

 and that the emotional distress of the African-American family, upon seeing a burn-

 ing cross in front of their rented home on a single occasion, was not sufficient to

 confer standing.4 The rationale for the Court’s disregard of the holding in Wells is


 4
   The Court likewise failed to address Plaintiffs’ citation of one of its own deci-
 sions, Coulter-Owens v. Rodale, Inc., Case No. 14-12688 (E.D. Mich. 2015) (J.
 Roberts), (ECF #50, Exhibit 4), in which the Court rejected the defendant’s claim
 (Footnote continued.)

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 indeterminable, since the Court did not mention the case, either in its decision dis-

 missing the lawsuit or in its Order denying Plaintiffs’ motion for reconsideration.

       In light of the above multiple legal authorities which Plaintiffs relied on as a

 basis for their position that they had standing to sue, it can hardly be maintained

 that the position was “frivolous, unreasonable, or without foundation.” The fact that

 the Court disagreed and rejected this position does not render the position “frivo-

 lous, unreasonable, or without foundation” and may not constitute a basis for grant-

 ing the Protesters attorney fees or costs pursuant to 42 U.S.C. §1988. See Jones v.

 Continental Corp., 789 F.2d 1225 (6th Cir. 1986) (reversing an award of attorney

 fees to defendant, stating, id. at 1233, “[The evidence] fall[s] short of a finding that

 Jones’s termination claim was frivolous, unreasonable or groundless, and indeed,

 the existing record is inadequate to support such a finding.”); Smith v. Smythe-

 Cramer Co., 754 F.2d 180 (6th Cir. 1985) (reversing an award of attorney fees to

 the defendants, stating, id. at 185, “We conclude that the district court abused its

 discretion by awarding attorneys fees to defendants. … Plaintiffs have presented an

 adequate basis for their suit to avoid the conclusion that it is frivolous, unreasona-

 ble, or without foundation.”); Tartar v. Raybuck, 742 F.2d 977 (6th Cir. 1984) (re-

 versing an award of attorney fees to the defendants, stating, id. at 988, “That the
 _______________________________
 the plaintiff did not have standing, by stating, id. at *5: “Coulter-Owens only needs
 to allege a violation of [Michigan’s Video Rental Privacy Act] in order to have Ar-
 ticle III standing. She does this; she has Article III standing.” The Court ignored
 that Plaintiffs had alleged the Protesters had violated four civil rights statutes.


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 district court or this court ultimately declined to adopt the positions urged by plain-

 tiffs on these questions is not tantamount to concluding defendants are entitled to an

 attorneys fees award under section 1988.”); U.S. v. State of Mississippi, 921 F.2d

 604 (5th Cir. 1991) (affirming a denial of attorney fees to defendant, stating, id. at

 609, “We review frivolity by asking whether the case was so lacking in merit that it

 was groundless, rather than whether the claim was ultimately successful.”); Mitch-

 ell v. City of Moore, Oklahoma, 218 F.3d 1190 (10th Cir. 2000) (affirming a district

 court’s denial of awarding attorney fees to the defendant, stating, id. at 1203, the

 standard “is difficult to meet, to the point that rarely will a case be sufficiently friv-

 olous to justify imposing attorney fees on the plaintiff.”).5

       2.     The attorneys for the Protester Defendants barely addressed the
              standing issue in their motion to dismiss.

       The only discussion of the issue of standing by the Protesters’ attorneys ap-

 pears in their Corrected Motion To Dismiss, at p. 11. (ECF #45) It consists of a sin-

 gle paragraph, 10 lines long, and contains only one case citation. It could not have

 5
   See also Platinum Sports, Ltd. v. Snyder, Case No. 11-14635 (E.D. Mich. 2013)
 (J. Corbett O’Meara) (“In these cases, although the court found Plaintiff’s argu-
 ments to be without merit, it cannot conclude that Plaintiff engaged in ‘egregious
 misconduct’ by filing actions the are ‘frivolous, unreasonable, or without founda-
 tion.’ … (‘A district court cannot engage in post hoc reasoning by concluding that,
 because a plaintiff did not ultimately prevail, his action must have been unreasona-
 ble or without foundation.’” Id. at *3) (copy attached as Exhibit 1); Iraira v. Aguir-
 re, Case No. 01-72394 (E.D. Mich. 2006) (J. Roberts) (Plaintiffs’ claims … were
 colorable on their face, even though the evidence ultimately did not bear on the
 claims. Therefore, the Court finds that an award of fees and costs to [the defend-
 ants] is not warranted.” Id. at *16.) (copy attached as Exhibit 2).


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 required more than 3-4 hours to research and write. If they were entitled to recover

 any attorney fees whatsoever pursuant to 42 U.S.C. §1988, it would be limited to

 the meager expenditure of time required to research and write this single paragraph.

       3.     The time records submitted by the Protesters do not document
              how much time was devoted to addressing the issue of standing.

       A defendant is only entitled to recover fees for that time which the defend-

 ant’s attorney documents s/he spent on the precise issue over which the defendant

 prevailed. Here, even assuming that the Court’s lack of jurisdiction does not pre-

 clude the Protesters from recovering attorney fees altogether, but allows a recovery

 of attorney fees related to their attorneys’ advocacy related to the standing issue, in

 order to recover any attorney fees for time expended on this issue, the attorneys

 must provide documentation of their time expended on this issue, and only on this

 issue. As this Court stated in Pharmacy Records v. Simmons, Case NO. 05-72126

 (E.D. Mich. 2006) (J. Roberts) (copy attached as Exhibit 3), id. at 4-5:

       Plaintiffs object that Defendants used “block billing” because the de-
       tail for two entries state that the time was spent on both drafting an
       Answer with affirmative defenses and drafting the Motion, but does
       not distinguish between the two.

       Defendants respond that the Motion and the Answer are “interconnect-
       ed.” Defendants fail to explain why they did not itemize time for the
       Motion only. The Court’s Order only allows costs and fees incurred
       with the Motion, not any related matter. While Defendants’ Reply in-
       cludes a timeline of the work done concerning the Motion, it does not
       attempt to distinguish the time spent on the Motion from time spent on
       the Answer. As Plaintiffs noted earlier, because much of the research
       on the issues in this case was done for a previous motion in another
       case, there is no reasonable way for the Court to determine how many

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       hours are attributable to the Motion only. Accordingly, $1,360.00 will
       be subtracted.

       The time records submitted by the Protesters’ attorneys relate predominantly

 to pleadings, motions and briefs unrelated to the standing issue, and therefore do

 not identify the amount of time they devoted to the standing issue. With regard to

 their motion to dismiss (ECF #38)6 and the corrected motion to dismiss (ECF #45),

 the preponderance of the arguments relate to their R 12(b)(6) motion to dismiss for

 failure to state a claim and their argument that the protesters’ conduct was protected

 by the 1st Amendment. Per Argument I(A), they are not entitled to recover any at-

 torney fees for time devoted to these issues. Nowhere in their time records, howev-

 er, do they identify the amount of time they spent exclusively on research and writ-

 ing devoted to the standing issue. They are therefore precluded from recovering at-

 torney fees for any legal work devoted to the standing issue. The Protesters’ fee pe-

 tition pursuant to 42 U.S.C. §1988 should accordingly be denied in its entirety.

 II.   THE MOTION FOR SANCTIONS SHOULD BE DENIED.

 28 U.S.C. §1927 states:


 6
   The Protesters are not entitled to recover any attorney fees for the work their at-
 torneys expended on writing the initial motion to dismiss, since the Court struck it
 because it exceeded the page limit. (ECF #42) The Harb/Davis time records (Ex. 1)
 include time devoted to researching and writing the initial motion to dismiss which
 they are not entitled to be compensated for. (See Ex. 1, 03/05/20 through 03/18/20.)
 The same is true regarding Mr. Shea’s time records. (See Ex.3, 03/07/20 through
 03/17/20.) Moreover, the time records of Constitutional Litigation Associates do
 not disambiguate what legal work was performed by Davis versus Heenan.


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       Any attorney or other person admitted to conduct cases in any court of
       the United States or any Territory thereof who so multiplies the pro-
       ceedings in any case unreasonably and vexatiously may be required by
       the court to satisfy personally the excess costs, expenses, and attor-
       neys’ fees reasonably incurred because of such conduct.

       In Salkil v. Mount Sterling Tp. Police Dept., 458 F.3d 520, 532 (6th Cir.

 2006), the Court explicated the grounds which can justify sanctions under §1927:

       [A] district court may impose sanctions under §1927 when it deter-
       mines that “’an attorney reasonably should know that a claim pursued
       is frivolous.’” … Simple inadvertence or negligence, however, will not
       support sanctions under §1927. … “’There must be some conduct on
       the part of the subject attorney that trial judges, applying collective
       wisdom of their experience on the bench could agree falls short of the
       obligations owed by a member of the bar to the court.’” … Moreover,
       “’an award of attorneys’ fees against a losing plaintiff in a civil rights
       action is an extreme sanction, and must be limited to truly egregious
       cases of misconduct.’” …

       In this case, the district court imposed attorneys’ fees under §1927 for
       the same reason it imposed Rule 11 sanctions: Salkil lacked standing
       to bring any First Amendment claim. As explained in previous section,
       Skagg’s failure to recognize that Salkil lacked standing was not unrea-
       sonable. Accordingly, it most certainly did not constitute egregious
       misconduct. (Citations omitted.)

 See also In re Reuben, 825 F.2d 977, 990 (6th Cir. 1987) (“A district judge should

 not await the aggregation of what he considers multiple acts of misconduct and then

 levy an aggregated sanction without at least warning the attorneys at the time of

 each act or reserving decision upon timely requests by opposing counsel.”)

       The Protesters contend that sanctions are appropriate based on three catego-

 ries of alleged misconduct: (1) filing a motion for entry of a default judgment

 against Jewish Witnesses for Peace and Friends (“Witnesses”) (ECF #16); (2) filing

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 a motion for partial summary judgment against the City of Ann Arbor (ECF #23)

 which the Court struck (ECF #29); and (3), for filing a series of joint letters re-

 questing leave to file a motion for a preliminary injunction (ECF #55); requesting

 leave to file a motion for partial summary judgment against the City (ECF #60);

 and requesting leave to file a Second Amended Complaint (ECF #64).

       None of these actions, either individually or cumulatively, warrant the impo-

 sition of sanctions under §1927. Regarding (1), the Court denied the motion for a

 default judgment on the basis that courts prefer to render decisions on the merits,

 not by default. This was a discretionary decision by the Court and did not entail that

 Plaintiffs’ motion was erroneous, frivolous or unreasonable. Witnesses had been

 properly served with the FAC and had failed to file an appearance. Plaintiffs were

 entitled to seek a default judgment, particularly when its defense was that it did not

 constitute a legal entity under Michigan law, a frivolous defense when Michigan

 law clearly held that Witnesses was a voluntary unincorporated association. Re-

 garding (2), the motion for partial summary judgement against the City did not

 multiply any proceedings for the Protesters’ attorneys, since the motion was not di-

 rected at them. None of the Defendants were required to respond to the motion, be-

 cause the Court struck the motion before any response was called for. Moreover,

 the motion related to a question of law only – the interpretation of the City’s Code

 provisions relating to signs, and did not require any discovery. Finally, regarding

 (3), all of the joint letters requesting leave to file the motions in question were pre-

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 pared and filed in accordance with the Court’s requirements under the Court’s own

 Order (ECF #44). Plaintiffs’ attorneys may not be sanctioned for following the very

 procedure which the Court required, particularly when leave was denied and the

 motions were not filed. Moreover, the proposed motions all related to matters

 which under the Federal Rules, were permitted to be filed at any time, even if a mo-

 tion to dismiss were pending. None of the actions for which the Protesters seek

 sanctions are therefore sanctionable under §1927. The motion for sanctions pursu-

 ant to 28 U.S.C. §1927 should accordingly be denied.7

                           CONCLUSION AND RELIEF

       Based on the above arguments, the Court should deny the Protester Defend-

 ants’ Fee Petition and Motion For Sanctions in their entirety.



 7
   See, e.g., Butcher v. Michigan Supreme Court, Case No. 07-14940 (E.D. Mich.
 2008) (J. Roberts) (copy attached as Exhibit 4), in which the attorney plaintiff had
 filed a lawsuit against the Michigan Supreme Court, the Michigan Attorney Griev-
 ance Commission, and the Michigan Attorney Discipline Board, contesting attorney
 discipline which the defendants had imposed on him. The Court held that the law-
 suit was barred by the Rooker-Feldman doctrine and by the State’s 11th Amend-
 ment sovereign immunity, which arguably rendered the Complaint and all of the
 attorney plaintiff’s filings as vexatiously and unreasonably multiplying proceed-
 ings, yet the Court held that §1927 sanctions were not called for. What the attorney
 plaintiff did in Butcher was far more egregious than anything which Plaintiffs’ at-
 torneys are accused of having done in the instant lawsuit. See also Palmer v. Allen,
 Case No. 14-cv-12247 (E.D. Mich. 2017) (J. Drain) (copy attached as Exhibit 5)
 (“Defendants correctly note that Plaintiff’s counsel has failed to comply with Local
 Rules, Court orders, and case deadlines on multiple occasions. However, Defend-
 ants have not shown that Plaintiffs’ counsel’s actions exceeded mere negligence or
 incompetence.”)


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                                           Respectfully submitted,

 By:   /s Ziporah Reich                    /s Marc M. Susselman
       Co-counsel for Plaintiffs           Attorney for Plaintiffs

 Dated: December 16, 2020




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